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                   Exhibit 28
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Good morning Naum!!!

Having looked at the realized module, we have developed the impression that, as we
are accustomed to say, our Western partners simply do not want to redesign the
module and come up with various reasons that have nothing to do with the nature
of the issues that we have raised. Namely: a small change in the configuration of the
boards, transfer of the user USB connectors etc. to a separate board. The enclosed
photo shows that the area of the boards being offered by us is larger than the area
on which they realized their module. Upon preserving the division of the device into
functionally complete modules (boards), the separation of the individual elements
from each other is preserved, while the presence in the design of metal frames only
improves the shielding. Also, if all the user connectors are transferred to a separate
board, this will add additional space for placement [of components], if they are so
worried about it.
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                                 Preferences and questions

1. Square module with outside dimensions 38x38 allows to make the thermal module
   interchangeable with FLIR module. This will allow to use the new module in designs
   intended for FLIR. It will also allow to save space in the devices being designed and
   use it for placing the controls and means of attachment, which in turn will decrease the
   overall dimensions, as well as the weight of the finished device.
2. Attachment of the boards of the module onto a mechanical part (Part 1) will allow to
   decrease the overall dimensions produced utilizing the given module by means of a
   possibility of different means of attachment of the module through the given part. This
   will also increase the flexibility of utilization of the module in different types of
   devices (sight, monocular, combination device).
3. In the part (Part 1) it is possible to realize a system of shock mitigation (SMS), which
   will allow to minimize the risks of appearance of dead pixels upon utilization of this
   module in sights, because microbolometers in sensors of company Ulis are sensitive to
   recoil.
4. All user connectors for Micro HDMI, Micro USB, Micro SD have to be placed on a
   separate board. Because a device for use in the field must be hermetic, it is not
   appropriate to place these connectors directly on the module itself. Upon such
   placement, it is possible that dust, dirt, and moisture will wind up on the boards of the
   module, which can result in a failure of electronic components and/or optical elements,
   which will result in degradation of the image because of contamination with dirt and
   fogging of the internal optical surfaces. This board is necessary to place in a separate
   hermetic compartment of the device by analogy with a battery compartment which
   usually does not affect the performance of the device or cause its failure.

Those were preferences, now questions.

1. What is the power consumption of the module?
   a) With auxiliary capabilities turned on.
   b) With auxiliary capabilities turned off.
2. What calibration method is utilized in the module? (calibration with lens cap,
   calibration with shutter, electronic calibration)
3. Will manual contrast adjustment be available?
4. How many modes of autocontrast are provided in the device?
5. How is the menu organized? what is the structure of the menu?
6. Will it be possible to correct parameters of contrast and modes of autocontrast through
   personal computer for the manufacturer of devices.
7. Is it possible to enter through Wi-Fi data from laser rangefinder into the module with
   subsequent output to a microdisplay?
8. Is it possible to realize a ballistic calculator in the module with utilization of data from
a rangefinder? (do the technical capabilities of this module allow to realize such
functioning? In a few words it looks as follows. The user has sighted the device to a
certain distance and he needs to shoot at a certain target at a different distance. The
device should have to reticles, one for shooting, another for measuring the distance with a
laser rangefinder. The user, having pointed the reticle for measuring the distance on the
target presses the measuring button. After which sighting
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